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GAS 245B               (Rev. 09/11) Judgment in a Criminal Case
Magistrate Probation   Sheet 1



                                                                                                                                          HH UlV
                                            United States District Court
                                                         SOUTHERN DISTRICT OF GEORGIA                                          ZGISnapo PM 3: hO
                                                                              DIVISION
                                                                                   )
               UNITED STATES OF AMERICA                                                   JUDGMENT IN A
                                                                                   )
                                     V.                                            )
                          Angelo G. Romero                                         )
                                                                                          Case Number:              4:16CR00193-1
                                                                                   )
                                                                                   )      USM Number:
                                                                                   )
                                                                                   )      Anne Pannell Rodman
                                                                                          Defendant's Attorney
THE DEFENDANT:

Kl pleaded guilty to Count                  1

•   pleaded nolo contendere to Count(s)                               which was accepted by the court.

•   was found guilty on Count(s)                          after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                Nature of Offense                                                                          Offense Ended     Count

21 U.S.C. § 844                Simple possession of a controlled substance                                                  1/10/2016         1




        The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentenceis imposed pursuant to the
Sentencing Reform Act of 1984.
• The defendant has been found not guilty onCount(s)
•   Count(s)                                         •     is     •     are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed bythis judgment are fully paid. If ordered to
payrestitution, the defendant mustnotify the court and United States attorney of material changes in economic circumstances.

                                                                                   October 19. 2016
                                                                                   Date of Imposition of Judgment




                                                                                   Signature of Judge




                                                                                   UNITED STATES MAGISTRATE JUDGE
                                                                                   SOUTHERN DISTRICT OF GEORGIA
                                                                                   Name and Title of Judge




                                                                                   Date
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